 Case 2:06-cv-02409-GAF-VBK Document 133 Filed 10/03/11 Page 1 of 1 Page ID #:886

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL

 Case No.          CV 06-02409-GAF (VBKx)                                         Date   October 3, 2011
 Title             Richard Robinson v. County of Los Angeles Office of Public Safety et al



 Present: The Honorable            GARY ALLEN FEESS, UNITED STATES DISTRICT JUDGE
                 Renee Fisher                              Lisa Gonzalez                                 N/A
                 Deputy Clerk                        Court Reporter / Recorder                  Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Michael A McGill                                     Linda C. Miller Savitt
                                                                             John J Manier
 Proceedings:                 PRETRIAL CONFERENCE (Held and Completed)

      Court and counsel present. Pretrial Conference held. Court and counsel discuss
how the parties intend to proceed with trial.

         The Trial in this matter is continued to November 29, 2011 at 8:30 a.m.

      The parties are ORDERED to lodge the joint exhibits in a binder for the court’s
review no later than October 12, 2011.

       The parties are further ORDERED to file any amended jury instructions no later
than the close of business on October 7, 2011

         The Court will issue a Pretrial Conference Order.




                                                                                          00         :         32
                                                               Initials of Preparer                 rf




CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                         Page 1 of 1
